     Case 2:13-cv-06172-GW-JEM Document 15 Filed 01/29/14 Page 1 of 2 Page ID #:36



 1   Ryan Lee, Esq. (SBN: 235879)
     Krohn & Moss, Ltd.
 2   10474 Santa Monica Blvd., Suite 405
     Los Angeles, CA 90025
 3   T: (323) 988-2400; F: (866) 861-1390
     rlee@consumerlawcenter.com
 4   Attorneys for Plaintiff,
     RONALD PATTON
 5
                                   UNITED STATES DISTRICT COURT,
 6                                CENTRAL DISTRICT OF CALIFORNIA,
                                         WESTERN DIVISION
 7
     RONALD PATTON,                                 ) Case No.: 2:13-cv-06172-GW-JEM
 8
                                                    )
                    Plaintiffs,                     )
 9
                                                    )
            v.                                      ) VOLUNTARY DISMISSAL
10
                                                    )
     UNIVERSAL FIDELITY, LP,                        )
11
                                                    )
                    Defendant.                      )
12
                                                    )
13

14                       VOLUNTARY DISMISSAL WITHOUT PREJUDICE

15          Plaintiff, RONALD PATTON, by and through his attorneys, KROHN & MOSS, LTD.,

16   hereby voluntarily dismisses the above-entitled case without prejudice. Plaintiff requests that the
17   court retain jurisdiction over the parties for the limited purpose of enforcement of the settlement
18
     agreement.
19

20
     Dated: January 29, 2014                               KROHN & MOSS, LTD.
21

22
                                                           By: /s/ Ryan Lee, Esq.
23                                                         Ryan Lee, Esq.
                                                           Attorney for Plaintiff
24

25



                                                     -1-

                                         VOLUNTARY DISMISSAL
     Case 2:13-cv-06172-GW-JEM Document 15 Filed 01/29/14 Page 2 of 2 Page ID #:37



 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that on January 29, 2014, I electronically filed the foregoing Notice of
 3   Voluntary Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said
 4   Notice was electronically submitted to all parties by the Court’s CM/ECF system.
 5

 6

 7                                       By:     /s/ Ryan Lee, Esq.    _
 8                                               Ryan Lee, Esq
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                                                   -2-

                                       VOLUNTARY DISMISSAL
